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     EXHIBIT "F"




                                                                     013
             Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 2 of 41 PageID 46
                                      Inmate Charge Summary
                                          PINELLAS COUNTY SHERIFF'S OFFICE                                                              02/21/2020 15:41


  Docket No.      SPN                Inmate Name             Housing Location        Security Level     SRA             Projected Release Date:
   1822742      310765947 BELLO NOGUEDA,CARLOS RA                                 Minimum Misd          MH37                Actual:
                                                                                                                       Scheduled:
                                                                                                                        Amt. Due: $0.00


Charges:

   Statute             Statute Description          Degree       Chrg Type      UCR Code Chrg Status                Case No.           Disposition

843.15(1)(B)/MAILURE TO APPEAR (MISDEMEANO             1            M             5015            BOND             AC7QEYE-1
Sent Start 00/00/0000 00:00   Sent Date   00/00/0000 00:00   Replace    Years    0      0     Months    0      0    Days    0   0     Hours   0      0
Admit Date 11/29/2019 12:20 Activate Dt 11/29/2019 12:24 Classify Value:                Time in Jail: 11 Day(s) and 8 Hour(s)
Concurrent      Gain    0     Good    0       Weekender       RTS Bond $513.00              Fine $.00          Purge $.00             Bond Grp
Charge Cmts:
Sentence Cmts:     AC7QEYE-1 sucessfully added.




                                                                                                                                      014     Page 1 of 1
                      Jail Inmate Management System
              Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 3 of 41 PageID 47
        Movement History - 1822742 BELLO NOGUEDA,CARLOS RAUL
                                              November 29 2019
Unscheduled Event HOUS-UNSCH occurred at 11/29/2019 12:21 - 11/29/2019 12:21
   Checked out of I on the way to CSOD-INTAK-REC-01-008 at 11/29/2019 12:21
   Completed event at 11/29/2019 12:21
Unscheduled Event HOUS-UNSCH occurred at 11/29/2019 13:02 - 11/29/2019 13:02
   Checked out of CSOD-INTAK-REC-01-008 on the way to CSOD-INTAK-PRO-01--50 at 11/29/2019 13:02
   Completed event at 11/29/2019 13:02
Event HOUS-CSO-CE (9762837) scheduled at 11/29/2019 14:30 - 15:30 occurred at 11/29/2019 14:45 - 11/29/2019 14:50
   Checked out of CSOD-INTAK-PRO-01-003 on the way to CSOD-PRE-HOUSE-01-1 at 11/29/2019 14:45
   Checked into CSOD-PRE-HOUSE-01-1 at 11/29/2019 14:46
   Checked out of CSOD-PRE-HOUSE-01-1 on the way to CEN-2C1-UN01-U3-002 at 11/29/2019 14:46
   Completed event at 11/29/2019 14:50

                                              November 30 2019
Event CCJC-R101 (9763325) scheduled at 11/30/2019 8:30 - 11:30 occurred at 11/30/2019 8:14 - 11/30/2019 10:07
   Checked out of CEN-2C1-UN01-U3-002 on the way to CJC-MISDEMEANOR ADVISORY at 11/30/2019 8:14
   Completed event at 11/30/2019 10:07

                                              December 02 2019
Event HOUS-SCHED (9764874) scheduled at 12/02/2019 2:30 - 3:30 occurred at 12/02/2019 2:23 - 12/02/2019 2:44
   Checked out of CEN-2C1-UN01-U3-002 on the way to CEN-6C1-UN01-L7-001 at 12/02/2019 2:23
   Completed event at 12/02/2019 2:44
Event PREA-CPREA1 (9052047) scheduled at 12/02/2019 14:30 - 15:30 occurred at 12/02/2019 14:33 - 12/02/2019 15:05
   Checked out of CEN-6C1-UN01-L7-001 on the way to CD 6TH FL MPR at 12/02/2019 14:33
   Completed event at 12/02/2019 15:05

                                              December 04 2019
Event MED-6CHP (9767797) scheduled at 12/04/2019 15:00 - 15:15 occurred at 12/04/2019 15:25 - 12/04/2019 16:02
   Checked out of CEN-6C1-UN01-L7-001 on the way to CD 6TH FLR NURSES ST at 12/04/2019 15:25
   Completed event at 12/04/2019 16:02

                                              December 06 2019
Event MED-NUR 2C (9769800) scheduled at 12/06/2019 9:45 - 10:00 occurred at 12/06/2019 9:50 - 12/06/2019 10:39
   Checked out of CEN-6C1-UN01-L7-001 on the way to CEN DIV. 2ND FLR at 12/06/2019 9:50
   Completed event at 12/06/2019 10:39
Event HOUS-CEN-HD (9775193) scheduled at 12/06/2019 10:30 - 11:30 occurred at 12/06/2019 10:47 - 12/06/2019 11:12
   Checked out of CEN-6C1-UN01-L7-001 on the way to CSOD-PRE-HOUSE-01-4 at 12/06/2019 10:47
   Checked into CSOD-PRE-HOUSE-01-4 at 12/06/2019 10:55
   Checked out of CSOD-PRE-HOUSE-01-4 on the way to HD-CLIN-CL_WT-01-91 at 12/06/2019 10:55
   Checked into HD-CLIN-CL_WT-01-91 at 12/06/2019 10:59
   Checked out of HD-CLIN-CL_WT-01-91 on the way to HD-2H2-2H2B-B1-001 at 12/06/2019 10:59
   Completed event at 12/06/2019 11:12

                                              December 09 2019
Event HOUS-SCHED (9778647) scheduled at 12/09/2019 18:00 - 19:00 occurred at 12/09/2019 17:58 - 12/09/2019 18:02
   Checked out of HD-2H2-2H2B-B1-001 on the way to HD-3H4-3H4A-A-006 at 12/09/2019 17:58
   Completed event at 12/09/2019 18:02

                                              December 10 2019
Event VIS-REG (9778510)     scheduled at 12/10/2019 11:30 - 12:10 occurred at 12/10/2019 11:38 - 12/10/2019 12:15
   Checked out of HD-3H4-3H4A-A-006 on the way to HD-3H4-A at 12/10/2019 11:38
   Completed event at 12/10/2019 12:15
Event In Process REL-HDREL (9779906) scheduled at 12/10/2019 17:55 - 18:55 occurred at 12/10/2019 19:11 - 12/10/2019 19:52
   Checked out of HD-3H4-3H4A-A-006 on the way to HD-CLIN-HOLD1-01-1 at 12/10/2019 19:11
   Checked into HD-CLIN-HOLD1-01-1 at 12/10/2019 19:13                                                   015
Checked out of HD-CLIN-HOLD1-01-1 on the way to CSOD-PRE-HOUSE-01-8 at 12/10/2019 19:43
Checked intoCase
             CSOD-PRE-HOUSE-01-8   at 12/10/2019
                  8:20-cv-02005-TPB-AEP          19:52
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                                                                                                016
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                                                                     017
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                                                                           of 41 PageID    50
                                                                                   21, 2020 15:42
                               Jail Inmate Management System
               Incompatible with - 1822742 BELLO NOGUEDA,CARLOS RAUL
Docket No.       SPN        Last Name       First Name   Housing Location




                                                                Total:      0
                                                                                     018
          Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 7February
                                                                        of 41 PageID    51
                                                                                21, 2020 15:43
                             Jail Inmate Management System
               Housing History - 1822742 BELLO NOGUEDA,CARLOS RAUL

      Housing              Arrival        Departure             House Change Reason                    Status
CSOD-INTAK-REC-01-008 11/29/2019 12:21 11/29/2019 13:02 Inmate Record Creation                     Accepted
CSOD-INTAK-PRO-01-003 11/29/2019 13:02 11/29/2019 14:50                                            Unscheduled
CEN-2C1-UN01-U3-002    11/29/2019 14:50 12/02/2019 02:44 Misdemeanor- House in Male Holding.        Scheduled
                                                         se8712
CEN-6C1-UN01-L7-001    12/02/2019 02:44 12/06/2019 11:12 Minimum Custody Misd. SVP - Potential      Scheduled
                                                         Victim. Veteran - no space in 2C2. ap7541
HD-2H2-2H2B-B1-001     12/06/2019 11:12 12/09/2019 18:02 Close Observation. Minimum                 Scheduled
                                                         Misdemeanor Custody, SVP Potential
                                                         Victim, Veteran - notified Dep Corkum 5891
HD-3H4-3H4A-A-006      12/09/2019 18:02 00/00/0000 00:00 Cleared Close Observation & Placed on      Scheduled
                                                         Psych Observation (MHTU) Approved by
                                                         Supervisor Holler, Minimum Misd. Custody
                                                         SVP Potential Victim Veteran rg9825




                                                                                                                 019
              Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 8 of 41 PageID 52
                                    Contact Log Report
Code:                     CIS No:       1822742 Location:           From: 00/00/0000 00:00 To: 00/00/0000 00:00 User ID:

                                                                                                                           Special
   Code                               Description                   CIS No.     Inmate Name         Date       User ID     Housing
 Infor Disc    INFORMAL DISCIPLINE- WHILE NURSE HILERY WAS IN THE   1822742 RLOS BELLO NOGUE12/02/19 15:54 cmoses
               POD FOR DIABETIC CHECKS, BELLO BECAME EXTREMELY
               IRATE YELLING THAT HE NEEDS HIS MEDICATION. NURSE
               HILERY INSTRUCTED HIM TO SIGN UP FOR NURSE SICK
               CALL AS I DID BEFORE SHE ARRIVED. BELLO WAS
               VERBALLY COUNSELED AND PROGRESSIVE DISCIPLINE
               SHOULD FOLLOW ON FUTURE OCCURENCES.
 Infor Disc    INFORMAL DISCIPLINE- CAUGHT IN THE LOWER TIER        1822742 RLOS BELLO NOGUE12/03/19 10:45 aberje
               BATHROOM APPLYING COLORED PENCIL TO HIS
               EYEBROWS AND TO HIS FACE AS MAKEUP. VERBALLY
               COUNSELED THAT THIS IS NOT ALLOWED AND WILL NOT
               BE TOLERATED
   Meal        Received a Meal                                      1822742 RLOS BELLO NOGUE12/05/19 11:27 adiaz
 Supervisor    Supervisor Check                                     1822742 RLOS BELLO NOGUE12/05/19 14:54 adiaz
Per Ck Cmp     PERIODIC CHECK COMPLETED AND TERMINATED BY -         1822742 RLOS BELLO NOGUE12/06/19 10:37 scoxjr
               PLACED ON CLOSE OBSERVATION STATUS PER LCSW
               DIXON.
   Meal        RECEIVED A LUNCH MEAL                                1822742 RLOS BELLO NOGUE12/06/19 11:19 dhughes
   Meal        RECEIVED A MEAL-DINNER                               1822742 RLOS BELLO NOGUE12/06/19 16:26 dhughes
 Supervisor    Supervisor Check                                     1822742 RLOS BELLO NOGUE12/06/19 18:40 mstowell
  REVIEW       Reviewed Contact Log                                 1822742 RLOS BELLO NOGUE12/06/19 18:41 mstowell
  DayTime      Dayroom Time                                         1822742 RLOS BELLO NOGUE12/06/19 22:30 twillis
   Meal        Received a Meal                                      1822742 RLOS BELLO NOGUE12/07/19 04:01 twillis
   Meal        Received a Meal                                      1822742 RLOS BELLO NOGUE12/07/19 10:43 nsweeney
   Meal        RECEIVED A MEAL - LUNCH                              1822742 RLOS BELLO NOGUE12/07/19 11:16 nsweeney
 Supervisor    Supervisor Check                                     1822742 RLOS BELLO NOGUE12/07/19 14:38 rcampbell
   Meal        RECEIVED A MEAL - DINNER                             1822742 RLOS BELLO NOGUE12/07/19 16:18 nsweeney
   Other       ZONE INSPECTIONS CONDUCTED IN CELL WITH CPL. SMITH   1822742 RLOS BELLO NOGUE12/07/19 19:32 jlopezii
               AND DEP.'S SIDERIS AND APPEL. DA7930
   Meal        Received a Meal                                      1822742 RLOS BELLO NOGUE12/08/19 03:45 jlopezii
   Meal        RECEIVED A MEAL.                                     1822742 RLOS BELLO NOGUE12/08/19 04:06 jlopezii
 Supervisor    Supervisor Check                                     1822742 RLOS BELLO NOGUE12/08/19 15:17 rcampbell
   Meal        Received a Meal                                      1822742 RLOS BELLO NOGUE12/08/19 15:42 mjsmith
   Meal        RECEIVED A MEAL DINNER                               1822742 RLOS BELLO NOGUE12/08/19 15:44 mjsmith
   Other       ZONE INSPECTIONS WERE CONDUCTED AND COMPLETED        1822742 RLOS BELLO NOGUE12/08/19 19:33 jlopezii
               IN EACH CELL BY CPL. SMITH AND DEP.'S LOPEZ AND
               SIDERIS. DA7930
   Meal        RECEIVED A MEAL. DA7930                              1822742 RLOS BELLO NOGUE12/09/19 04:23 jlopezii
   Other       LMHC MATHEW VISITING CELL SIDE                       1822742 RLOS BELLO NOGUE12/09/19 14:51 tcassidy
 CellClean     CLEANED CELL TODAY DURING ZONES.                     1822742 RLOS BELLO NOGUE12/09/19 15:33 chole
   Meal        RECEIVED A MEAL - DINNER TRAY                        1822742 RLOS BELLO NOGUE12/09/19 15:40 tcassidy
   Meal        RECEIVED A MEAL - LUNCH TRAY                         1822742 RLOS BELLO NOGUE12/09/19 17:30 tcassidy
  REVIEW       REVIEWED CONTACT LOG.CH6921                          1822742 RLOS BELLO NOGUE12/09/19 17:37 chole
   Meal        Received a Meal                                      1822742 RLOS BELLO NOGUE12/10/19 04:19 cmari
 Supervisor    Supervisor Check                                     1822742 RLOS BELLO NOGUE12/10/19 05:37 rdaniels




                                                                                                             020
             Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 9February
                                                                           of 41 PageID    53
                                                                                   21, 2020 15:43
                                 Jail Inmate Management System
                        Demographics - 1822742 BELLO NOGUEDA, CARLOS

   Docket No.:      1822742                        SPN :     310765947              SSN:                                Date Admitted:       11/29/2019 12:20
  Last Name: BELLO NOGUEDA                              First Name: CARLOS                                  Middle Name: RAUL                     Suffix:
     Address: TRANSIENT                                            City: GULFPORT                           State: FL             Zip Code: 33707-0000
       ID Type: Driver license      ID Number: B452116823030                          ID State: FL         PIN: 18227423358             Phone: (727) 342-3147

 Booking Type: Misdemeanor                          Education: Diploma                                     Arrest Type: Traffic - FTA
   Incident No: 0                                Marital Status: Single                                  Arrest Officer: JANOVICH                     02490251
       OBTS No: 0                                  Occupation: Nurse                                    Arrest Agency: Gulfport
             SID: 98109889                           Language: English                                Arrest Date/Time: 11/29/2019 11:07
          SO ID: 520000651167                         Religion: None                                 Location of Arrest:

 Sex: Male                  Current Age:    37                            Height:    511               Eye: Brown                 FBI No:
Race: Hispanic             Age at Arrest:   37                         Weight:       175               Hair: Blond                INS No:
DOB:      08/23/1982     POB: MEXICO                         POB: MM           SPOT:        Complexion: MED                       FDCN:
Consulate: Yes         Citizenship: OT                             Acct. Class: GENERAL PO              DNA:

Comments: NCIC/FCIC 1229 WA/VIPAR




                                                                                                                                          021
Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 10 of 41 PageID 54
                                                             February 21, 2020 15:43
                   Jail Inmate Management System
           Aliases - 1822742 BELLO NOGUEDA, CARLOS




                                                                        022
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                                                             February 21, 2020 15:44
                  Jail Inmate Management System
  Scars, Marks and Tattoos - 1822742 BELLO NOGUEDA, CARLOS

Category:               Type:                       Description:




                                                                        023
     Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 12 of 41 PageID 56
                                                                  February 21, 2020 15:44
                             Jail Inmate Management System
                     Contacts - 1822742 BELLO NOGUEDA, CARLOS
LOCAL ADDRESS
                                                                          Phone: ( )   -
              Address:                     City:             State:         Zip:   -

NEXT OF KIN                Relationship:
                  Last:                    First:           Middle:       Phone: ( )   -
              Address:                     City:             State:         Zip:   -

EMERGENCY CONTACT          Relationship:
                  Last: NONE               First:           Middle:       Phone: ( )   -
              Address:                     City:             State:         Zip:   -

ATTORNEY                   Relationship:
                  Last:                    First:           Middle:       Phone: ( )   -
              Address:                     City:             State:         Zip:   -

EMPLOYER                   Relationship:             Yrs. Employed:   0     Mnths. Employed:   0
                  Last:                    First:           Middle:       Phone: ( )   -
              Address:                     City:             State:         Zip:   -

PHYSICIAN                  Relationship:
                  Last:                    First:           Middle:       Phone: ( )   -
              Address:                     City:             State:         Zip:   -

OTHERS                     Relationship:
                  Last:                    First:           Middle:       Phone: ( )   -
              Address:                     City:             State:         Zip:   -




                                                                                   024
          Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 13 of 41 PageID 57
                                                                       February 21, 2020 15:44
                                    Jail Inmate Management System
                        Classification - 1822742 BELLO NOGUEDA, CARLOS

   Classification Reason      Custody Score        Lower Bunk Required         Acct. Class:           Reclassification Date
Scheduled Reclassification                                                 GENERAL POPULAT                 05/21/2020

      Security Level                Housing Type
Minimum Misd                  Medical

                  Special Considerations                                 Reason for Current Housing Assignment
30 day Reassessment: 1-1-20




                                                                                                                 025
Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 14 of 41 PageID 58
                                                             February 21, 2020 15:44
                     Jail Inmate Management System
       Release Information - 1822742 BELLO NOGUEDA, CARLOS
 Released Date: 12/10/19 20:20             Release Reason: Cash Bond


Release Auth By: MSC9670                 Release To Agency:


    Comments: CB # 422687




                                                                        026
              Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 15 of 41 PageID 59
                                  PINELLAS COUNTY SHERIFF'S OFFICE
Case Note Details for 1822742-BELLO NOGUEDA,CARLOS :                                                     2/21/2020
      Note Id: 1833866
  Entry Type: Class Notes              Housing Location: CSOD-INTAK               PRO          User ID: semanuels
Contact Date:                                 Entry Date: 11/29/2019 14:38               Last Update: 11/29/2019 14:38

Misdemeanor- House in Male Holding. se8712


      Note Id: 1834408
  Entry Type: Class Notes              Housing Location:        CEN-2C1           UN01         User ID: apaolillo
Contact Date:                                 Entry Date: 12/02/2019 02:13               Last Update: 12/02/2019 02:13

Minimum Custody Misd. SVP - Potential Victim. Veteran - no space in 2C2. ap7541


      Note Id: 1834598
  Entry Type: PREA Education           Housing Location:        CEN-6C1           UN01         User ID: showell
Contact Date:                                 Entry Date: 12/02/2019 15:33               Last Update: 12/02/2019 15:33

12-2-19 PREA Education Recieved              sh59283


      Note Id: 1836100
  Entry Type: Class Notes              Housing Location:        CEN-6C1           UN01         User ID: cwidua
Contact Date:                                 Entry Date: 12/06/2019 10:43               Last Update: 12/06/2019 10:43

Close Observation. Minimum Misdemeanor Custody, SVP Potential Victim, Veteran - notified Dep Corkum 5891 -cw9431


      Note Id: 1837071
  Entry Type: Class Notes              Housing Location:         HD-2H2           2H2B         User ID: rgreen
Contact Date:                                 Entry Date: 12/09/2019 17:57               Last Update: 12/09/2019 17:57

Cleared Close Observation & Placed on Psych Observation (MHTU) Approved by Supervisor Holler, Minimum Misd. Custody SVP
Potential Victim Veteran rg9825




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                                                                                                                          027
                Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 16 of 41 PageID 60
                                       PROPERTY RECORD RECEIPT
                                             PINELLAS COUNTY SHERIFF'S OFFICE
                                                                                                                                             Consolidated
       Docket No.          SPN                  Inmate Name                    Housing Location         Security Level RSA
       1822742           310765947    BELLO NOGUEDA, CARLOS RA                                          Minimum Misd HM37                    Form 1 of 1


Received By: akass          Location: CSOD          Property Roo              Container: V142           P           Date: 12/10/2019 20:00
Item                             Description                                       Item                          Description
       Belt                                                                        1      Bulk Bag(s)
 1     Cell Phone                                                                         Glasses




                                         RELEASED
       Hair Tie / Clip                                                                    Hat / Cap
       Key(s)                                                                             Lighter
       Medical Items                                                                      Medication Bag
       Misc. Items                                                                        Purse
 1     Wallet                    pfc invt 6491 verf 5891                           1      X - Other 1            pfc invt 6491 verf 5891
       X - Other 2               bulk from intake                                  1      X - Other 3            bulk from intake

                                                                   Yellow White
Jewelry                    Description                              Color Color Ston
       Bracelet 1
       Bracelet 2
 1     Earring 1
       Earring 2
       Necklace 1
       Necklace 2
       Piercing 1
       Piercing 2
       Ring 1
       Ring 2
       Watch
       X - Other Jewelry

Comments: blk purse, blond hair, blk boots, blk cardagan, nude wire bra, dress




 Property Receipt
 This receiving officer hereby certifies that the above listing accurately represents property received from
 prisoner/inmate.
 Receiving Officer____________________________Badge #________Arresting Officer____________________________Badge #________

 2nd Officer if prisoner/inmate refuses or unable to sign_________________________________Badge #________
 Prisoner acknowledges that any personal property and/or clothing stored for more than 30 days from release or
 discharge will be disposed without court order as agreed to by the prisoner.
 Prisoner_________________________________________I.D. #________________                                PIN: 18227423358

Property Release
This is to certify that all items listed above have been released or have been stored for more than 30 days from
discharge date and have been disposed of as authorized upon property receipt.
Release Reason:_________________________________Release Date:__________________Release Officer_____________Badge #_____

Prisoner/Person Receiving____________________________Date____________ Officer__________________________Badge #__________

Recipient:________________________________________Relation__________________________Phone Number______________________
Address___________________________________________City_______________State__________Zip Code__________




                                                                                                                                       028
                                                               Page 1 of 2
           Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 17 of 41 PageID 61
                                  PROPERTY RECORD RECEIPT
                                       PINELLAS COUNTY SHERIFF'S OFFICE
                                                                                                                       Consolidated
    Docket No.         SPN                Inmate Name                Housing Location    Security Level RSA
     1822742         310765947   BELLO NOGUEDA, CARLOS RA                                Minimum Misd HM37                 Form 1 of 1

Comments: PFC - 1 pr uw, colored pencils, coffee, misc papers




Inmate's Signature                                                                       Date: 12/10/2019 20:01




 Property Receipt
 This receiving officer hereby certifies that the above listing accurately represents property received from
 prisoner/inmate.
Receiving Officer____________________________Badge #________Arresting Officer____________________________Badge #________

2nd Officer if prisoner/inmate refuses or unable to sign_________________________________Badge #________
Prisoner acknowledges that any personal property and/or clothing stored for more than 30 days from release or
discharge will be disposed without court order as agreed to by the prisoner.
Prisoner_________________________________________I.D. #________________                  PIN: 18227423358

Property Release
This is to certify that all items listed above have been released or have been stored for more than 30 days from
discharge date and have been disposed of as authorized upon property receipt.
Release Reason:_________________________________Release Date:__________________Release Officer_____________Badge #_____

Prisoner/Person Receiving____________________________Date____________ Officer__________________________Badge #__________

Recipient:________________________________________Relation__________________________Phone Number______________________
Address___________________________________________City_______________State__________Zip Code__________




                                                                                                                  029
                                                      Page 2 of 2
                                                                                                        Attorney Visits                               2/21/2020
Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 18 of 41 PageID 62




                                                                                 Event ID Description           Event Time   Check in   Visitor          Attend
                                                                                                                                                  1
                                                                                                                                                        030
                                                                           Page 1 of 1
    Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 19 of 41 PageID 63




INMATE VISITATION QUERY

Docket Inquiry:        Docket #:
                       1822742

Visitor Name:           Last Name:              First Name:                 Visitor ID:




Inmate Name:            Last Name:              First Name:
                                                                          Submit          Clear

Click the Clear button then re-search your query
                      STATUS: P = PENDING, C = CANCELED, Y = COMPLETED, E = EXCUSED, U = UNEXCUSED




A network-related or instance-specific error occurred while establishing a connection to SQL Server. The server was not found or was not accessible.
Verify that the instance name is correct and that SQL Server is configured to allow remote connections. (provider: Named Pipes Provider, error: 40 -
Could not open a connection to SQL Server)


1

                                                                                                                   ID
     Visit Time         Docket #               Inmate              Visitor Name         Address      City/State            ID Number       Phone   Status
                                                                                                                  Type

12/10/2019 11:30:00                   BELLO                                         3405 MYRICA
                      1822742                                     RINGER,ROOK                        TAMPA,FL     D      R526725739640   8139536788 Y
AM                                    NOGUEDA,CARLOS                                ST.

12/10/2019 11:30:00                   BELLO                                         3405 MYRICA                          R526-725-73-
                      1822742                                     RINGER,ROOK                        TAMPA,FL     D                      8139536788 Y
AM                                    NOGUEDA,CARLOS                                ST.                                  964

1




http://partfrweb1/visitlist/visitorquery.aspx
                                                                                                                                         031
                                                                                                                                          2/21/2020
        Case 8:20-cv-02005-TPB-AEP Document 1-7 Filed 08/27/20 Page 20 of 41 PageID 64
ASK Admin Reports                                                                                                                   2/21/2020
                                                                                                                                     3:48 PM
                                                            Pinellas County
                                                         Print Message Report
                                                      From 11/29/2019 To 2/21/2020

Case #: 817475
       Inmate: BELLO NOGUEDA, CARLOS                  ID: 1822742                               Type: Permission
       Recipient: HOUSING DEPUTY                      Created: 12/10/2019 1:53 PM               Category: Property Grievance
       Cellblock:                                                                               Sub-Catgory:
       Case Cellblock: HD-3H4-3H4A-A-006                                                        Status: Closed, Unfounded


From                     To                           Message                                                          Entered


BELLO NOGUEDA, CARLOS HOUSING DEPUTY                   i ned a bra at minimum. im a ts woman,transgender,              12/10/2019 1:54:00 PM
                                                       and ben on hrt over three years. to grow a bust. why
                                                       do i have to show everyman my boobs when i get
                                                       changed. my chest huts due to anxiety or potasium
                                                       levels unbalanced. due not geting hrt since ive ben
                                                       here. its hard to breath at times.



SGT. MOON #54062          BELLO NOGUEDA, CARLOS You have received permission to file a grievance.                      12/11/2019 6:09:00 AM
                                                Inmates have 72 hours to file the grievance once
                                                approval has been granted. The approved category of
                                                the grievance is listed in the “Subject” line above. In
                                                order to file a grievance, click the back button, click on
                                                “New”, select “Grievance” and select the approved
                                                category.


SUPPORT/DDC ADMIN         BELLO NOGUEDA, CARLOS Case closed by System due to inmate being released.                    12/11/2019 9:40:00 PM




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ASK Admin Reports                                                                                                                   2/21/2020
                                                                                                                                     3:48 PM
                                                          Pinellas County
                                                       Print Message Report
                                                    From 11/29/2019 To 2/21/2020

Case #: 809314
       Inmate: BELLO NOGUEDA, CARLOS                ID: 1822742                                 Type: Request
       Recipient: HOUSING DEPUTY                    Created: 12/2/2019 3:53 PM                  Category: 01. General Request
       Cellblock:                                                                               Sub-Catgory: 4. Division Commander Request
       Case Cellblock: CEN-6C1-UN01-L7-001                                                      Status: Closed, Unfounded


From                      To                        Message                                                           Entered


BELLO NOGUEDA, CARLOS HOUSING DEPUTY                 i have not recived hrt. i signed to se arnp nurse on              12/2/2019 3:53:00 PM
                                                     friday. iv been off spironlactone,finersteride, and can
                                                     feel chest pains. hormones unbalalanced. the lack of
                                                     feedback about when ill see the arnp.



SGT. FRANJESEVIC #55432 BELLO NOGUEDA, CARLOS Inmate Nogueda was medically evaluated for his                           12/2/2019 4:48:00 PM
                                              "Chest Pains" on 12/02/2019 at 1645 hours. Per
                                              Nurse Hillary, the inmate was cleared to remain in
                                              current housing.




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Case #: 810406
       Inmate: BELLO NOGUEDA, CARLOS                ID: 1822742                                Type: Request
       Recipient: HOUSING DEPUTY                    Created: 12/3/2019 2:46 PM                 Category: 01. General Request
       Cellblock:                                                                              Sub-Catgory: 1. Housing Deputy Request
       Case Cellblock: CEN-6C1-UN01-L7-001                                                     Status: Closed, Unfounded


From                     To                         Message                                                          Entered


BELLO NOGUEDA, CARLOS HOUSING DEPUTY                requesting pillow. my bed ive obsereved didnt come                12/3/2019 2:47:00 PM
                                                    with a pillow . ive requested one and was told not all
                                                    bds come with them.


DEP. BERJE #54153         BELLO NOGUEDA, CARLOS When one becomes available it can be given to you                     12/3/2019 2:51:00 PM




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Case #: 816598
       Inmate: BELLO NOGUEDA, CARLOS                ID: 1822742                             Type: Request
       Recipient: HOUSING DEPUTY                    Created: 12/9/2019 7:42 PM              Category: 06. Property Request
       Cellblock:                                                                           Sub-Catgory: Property Request
       Case Cellblock: HD-3H4-3H4A-A-006                                                    Status: Closed, Unfounded


From                     To                         Message                                                        Entered


BELLO NOGUEDA, CARLOS HOUSING DEPUTY                need debit card number to order comisary. can i                12/9/2019 7:42:00 PM
                                                    request my make up bag please. i have property like
                                                    my underwear in a bag. i had a coffee bag colored
                                                    pencils.

DEP. MARI #55653          BELLO NOGUEDA, CARLOS You can't receive your debit card number to place                  12/9/2019 8:55:00 PM
                                                commissary orders. No make up ids allowed. If you
                                                have personal under garments that would not be
                                                considered contraband, you can request those items.




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